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(201) 556-1616
Attorney for Defendant

UNITED STATES                      UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
              vs.
                                   DOCKET No. 08-00080
JUAN POLANCO,
                                           CONSENT ORDER
             Defendant.


      THIS MATTER having been opened to the Court upon the application of

Curtis 3. LaForge, attorney for the Defendant, with the consent of the Assistant

U.S. Attorney, (Andrew Carey, Esq., appearing),     and upon pleadings submitted

and argument of counsel, there being good cause havingbeen shown;

      WHEREFORE, IT IS ON this      1      day ot                     ,2010;

      ORDERED that the Defendant’s Juan Polanco is permitted to work Monday

through Saturday from 8:00 a.m. until 8:00 pm.

      IT IS FURTHER ORDERED that during above working hours Juan Polanco can

travel outside the State of New Jersey, but NOT outside of the United States.




                                                         IESLER, U.S.M.).

We hereby consent to the form and entry
of the foregoing:

                                        DATED:
ANDREW CAREY, A.U.S.A.



                                        DATED: March 1, 2010
CURTIS). LAFORGE, ESQ.
ATTORNEY FOR DEFENDANT
